                             In re: Eyman, 18-14536-MLB




                          EXHIBIT 3
                            to Declaration of Susan Edison
                    in Support of State of Washington’s Response to
                    Motion to Sell Debtor’s Interest in Marital Home




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